  Case 1:24-cr-00121-SM-AJ               Document 13       Filed 05/05/25       Page 1 of 13




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA                         )                                           ●




                                                 )
                 V.                              )                 No. l:24-cr-121-SM-AJ
                                                 )
GICLIFF RODRIGUEZ                                )
   (a/k/a “SEGA”)                                )


                                     PLEA AGREEMENT


       Pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure, the United

States of America by its attorney, John J. McCormack, Acting United States Attorney for the

District of New Hampshire, and the defendant, GiCliff Rodriguez, a/k/a “SEGA,” and the

defendant’s attorney, Benjamin L. Falkner, Esquire, enter into the following Plea Agreement:

       1.    The Plea and the Offense.


       The defendant agrees to plead guilty to Counts 1 and 2 of the Indictment that respectively

charge him with Firearms Trafficking, in violation of 18 U.S.C. §§ 933(a)(2) & 933(b), and

Possession of Firearms by a Prohibited Person, in violation of 18 U.S.C. §§ 922(g)(l) &

924(a)(8).

       In exchange for the defendant’s guilty pica, the United States agrees to the sentencing

stipulations identified in Section 6 of this agreement.

       2,    The Statutes and Elements of the Offenses.


       Title 18, United States Code, Section 933 provides, in pertinent part:

       It shall be unlawful for any person to ... receive from another person any firearm
       in or otherwise affecting interstate or foreign commerce, if the recipient knows or
       has reasonable cause to believe that such receipt would constitute a felony.

18 U.S.C. § 933(a)(2).

                                              - 1 -
  Case 1:24-cr-00121-SM-AJ             Document 13          Filed 05/05/25      Page 2 of 13




       The defendant understands that the offense has the following elements, each of which the

United States would be required to prove beyond a reasonable doubt at trial:

       First: the defendant knowingly received a firearm from another person;

       Second: the firearm was in or otherwise affecting interstate commerce; and

       Third: that the defendant knew or had reasonable cause to believe that receipt would
       constitute a felony.

18 U.S.C. § 933(a)(2). C.f United Stales v. Williams, 2025 WL 1068563, at *2 (D. Md. Apr. 9,
2025) (describing elements of 18 U.S.C. § 933(a)(1)).

Title 18, Untied States Code, Section 922(g), states, in pertinent part:

       It shall be unlawful for any person ... who has been convicted in any court, of, a
       crime punishable by imprisonment for a term exceeding one year . . . to . ..
       possess in or affecting commerce, any firearm or ammunition.

18 U.S.C. § 922(g)(1).

       The defendant understands that the offense has the following elements, each of which the


United States would be required to prove beyond a reasonable doubt at trial:

       First: that the defendant, knowingly possessed the firearms described in the indictment;

       Second, that at the time the defendant possessed the firearms, the defendant had been
       convicted in any court of a crime punishable by imprisonment for a term exceeding one
       year;


       Third: that the defendant knew at the time that he possessed the firearms that he had been
       convicted in any court of a crime punishable by imprisonment for a term exceeding one
       year; and

       Fourth: the firearms, at any time after they were manufactured, moved from one state to
       another.


Pattern Criminal Jury Instructions for the District Courts of the First Circuit, Instruction
4.18.922(g), Internet Ed. (D. Me. Feb. 6, 2024), available at
https://www.med.uscourts.gov/sites/med/fiies/crpjiLinks.pdf;              United States, 139 S. Ct.
2191 (2019).


                                               - 2 -
  Case 1:24-cr-00121-SM-AJ             Document 13         Filed 05/05/25       Page 3 of 13




       3. Offense Conduct.


       The defendant stipulates and agrees that if this ease proceeded to trial, the government

would introduce evidence of the following facts, which would prove the elements of the offense

beyond a reasonable doubt:

       In February 2024, the defendant arranged for Rachel Cummings to conduct a straw

purchase of three firearms. At the time, the defendant had at least two prior felony convictions

punishable by imprisonment for terms exceeding one year and so was prohibited from

purchasing or otherwise possessing a firearm.

       On approximately February 25,2024, the defendant and Rachel Cummings drove from

Massachusetts to Statclinc Guns, Ammo & Archcry (“Statclinc”), located in Plaistow, New

Hampshire. During the drive, the defendant called Stateline to ask about purchasing specific

firearms. The defendant gave Cummings money to purchase the firearms and instructed her

which firearms to purchase. When they arrived, Cummings went in Statclinc and sought to

purchase three firearms. She initially purchased two because the third firearm the defendant

requested was not available. After delivering the firearms to the defendant, he sent Cummings

back into the store to purchase a third firearm. After she purchased it, she gave it to the

defendant. Cummings purchased the following three guns from Stateline for the defendant:

       ●   One Clock Model 29SF 10mm scrai-aulomatie pistol bearing serial number

           BXMV125;


       ●   One Glock Model 26 Gen4 9mm semi-automatic pistol, bearing serial number

           WRF788; and


       ●   One Glock Model 27 Gen5 .40 caliber semi-automatic pistol, bearing serial number


                                              - 3 -
  Case 1:24-cr-00121-SM-AJ             Document 13         Filed 05/05/25        Page 4 of 13




            CAYZ731.


       She then drove the defendant back to Massachusetts to an apartment building where he

exited with the three firearms. Call detail records show that the defendant was in communication

with Cummings and Statclinc the day Cummings purchased the firearms. Cell site location

infomiation associated with the defendant’s phone also shows that he was near Statclinc when

Cummings purchased the firearms.

       Two of the above-listed three firearms were later recovered in separate crimes of violence

that occurred within the Commonwealth of Massachusetts only twenty-fiveand thirty-three days

after the defendant received them. The defendant was Facebook friends with two of the

individuals involved in these crimes. Call detail records show that, two days after he received the


firearms, the defendant called one of the individuals involved in one of these crimes. The third

firearm has yet to be recovered. None of the three firearms were ever reported stolen.

       An ATF agent trained in nexus determinations reviewed the information about the three

guns and concluded that the three firearms all traveled in interstate commerce.

       4.   Penalties. Special Assessment and Restitution.

       The defendant understands that the penalties for each offense arc:

       A.      A maximum prison term of 15 years (18 U.S.C. §§ 924(a)(8); 933(b));

       B.      A maximum fine of $250,000 (18 U.S.C. § 3571);

       C.      A term of supervised release of not more than 3 years (18 U.S.C. §§
               924(a)(8); 933(b); 3583(b)(2); 3559(a)(3)). The defendant understands that
               the defendant’s failure to comply with any of the conditions of supervised
               release may result in revocation of supervised release, requiring the
               defendants serve in prison all or part of the term of super\'ised release,
               with no credit for time already spent on supervised release; and

       D.      A mandatory special assessment of S2(X),S100for each count of conviction, at or

                                               - 4 -
  Case 1:24-cr-00121-SM-AJ                 Document 13      Filed 05/05/25      Page 5 of 13




                before the time of sentencing (18 U.S.C. § 3013(a)(2)(A)).

       5.   Senteneine and Application of the Sentencing Guidelines.

       The defendant understands that the Sentencing Reform Aclof 1984 applies in this case

and that the Court is required to consider the United States Sentencing Guidelines as advisory

guidelines. Except for the Rule 11(e)(1)(C) sentencing stipulations provided for in Section 6 of

this Agreement, the defendant understands that he has no right to withdraw from this Plea

Agreement if the applicable advisory guideline range or his sentence is other than he anticipated.

       The defendant also understands that the United States and the United States Probation

Office shall;


       A.       Advise the Court of any additional, relevant facts that arc presently known
                or may subsequently come to their attention;

       B.       Respond to questions from the Court;

       C.       Correct any inaccuracies in the pre-sentence report;

       D.       Respond to any statements made by him or his counsel to a probation
                officer or to the Court.


       The defendant understands that the United Slates and the Probation Office may address

the Court with respect to an appropriate sentence to be imposed in this case.

       The defendant acknowledges that any estimate of the probable sentence or the probable

sentencing range under the advisory Sentencing Guidelines that he may have received from any

source is only a prediction and not a promise as to the actual sentencing range under the advisoiy

Sentencing Guidelines that the Court will adopt.

       6. Sentencing Stipulations and Agreements.


       Pursuant to Fed. R. Crim. 11 (c)(1)(C), the United States and the defendant stipulate and


                                                - 5 -
   Case 1:24-cr-00121-SM-AJ             Document 13         Filed 05/05/25       Page 6 of 13




agree to the following:

               (a)     63 months’ imprisonment is an appropriate disposition of this ease.

       The parties intend the above stipulations to be “binding” under Fed. R. Crim. P.

11 (c)(1)(C). By using the word binding the parties mean that if the Court will not accept the plea

agreement under Fed. R. Crim. P. 11(c)(3)(A), the plea agreement is null and void and the
defendant will be allowed the opportunity to withdraw his guilty pleas.

       The parties arc free to make recommendations with respect to the terms of imprisonment,

fines, conditions of probation or supervised release, and any other penalties, requirements, and

conditions of sentencing as each party may deem lawful and appropriate, unless such

recommendations arc inconsistent with the terms of this Plea Agreement.

       7.    Acceptance of Responsibility.

       The United States agrees that it will not oppose an appropriate reduction in the

defendant's adjusted offense level, under the advisory Sentencing Guidelines, based upon the

defendant’s apparent prompt recognition and affirmative acceptance of personal responsibility

for the offense. The United States, however, may oppose any adjustment for acceptance of

responsibility if the defendant:

       A.       Fails to admit a complete factual basis for the plea at the time he is
                sentenced or at any other time;

        B.      Challenges the United States’ offer of proof at any time after the plea is
                entered;

        C.      Denies involvement in the offense;

        D.      Gives conflicting statements about that involvement or is untruthful with
                the Court, the United States or the Probation Office;

        E.      Fails to give complete and accurate information about his financial status

                                               - 6 -
  Case 1:24-cr-00121-SM-AJ                Document 13        Filed 05/05/25       Page 7 of 13




               to the Probation Office;

       F.      Obstructs or attempts to obstruct justice, prior to sentencing;

       G.      Has engaged in conduct prior to signing this Plea Agreement which
               reasonably could be viewed as obstruction or an attempt to obstruct
               justice, and has failed to fully disclose such conduct to the United States
               prior to signing this Plea Agreement;

       H.      Fails to appear in court as required;

       I.      After signing this Plea Agreement, engages in additional criminal conduct;
               or



       J.      Attempts to withdraw his guilty plea.

       The defendant understands and agrees that he may not withdraw his guilty plea if, for any

of the reasons listed above, the United States docs not recommend tliat he receive a reduction in

his sentence for acceptance of responsibility.

       The defendant also understands and agrees that the Court is not required to reduce the

offense level if it finds that he has not accepted responsibility.

       If the defendant’s offense level is sixteen or greater, and he has assisted the United States

in the investigation orproseculion of his own misconduct by timely notifying the United States

of his intention to enter a plea of guilty, thereby permitting the United States to avoid preparing

for trial and permitting the United States and the Court to allocate their resources efficiently, the

United States will move, at or before sentencing, to decrease the defendant’s base offense level

by an additional one level pursuant to U.S.S.G. § 3El.l(b).

       8.   Waiver of Trial Rights and Consequences of Plea.


       The defendant understands that he has the right to be represented by an attorney at every

stage of the proceeding and, if necessary, one will be appointed to represent him. The defendant


                                                 - 7 -
   Case 1:24-cr-00121-SM-AJ                Document 13         Filed 05/05/25        Page 8 of 13




also understands that he has the right:

           A.     To plead not guilty or to maintain that plea if it has already been made;
           B.     To be tried by a jury and, at that trial, to the assistance of counsel;

           C.     To confront and cross-examine witnesses;

           D.     Not to be compelled to provide testimony that may incriminate him; and

           E.     To compulsory process for the attendance of witnesses to testify in his
                   defense.


           The defendant understands and agrees that by pleading guilty he waives and gives up the

foregoing rights and that upon the Court’s acceptance of his guilty plea, he will not be entitled to

a trial.


           The defendant understands that if he pleads guilty, the Court may ask him questions

about the offense, and if he answers those questions falsely under oath, on the record, and in the

presence of counsel, his answers will be used against him in a prosecution for perjury or making
false statements.


           9.   Acknowledgment of Guilt: Voluntariness of Plea.

           The defendant understands and acknowledges that he:

           A.      Is entering into this Plea Agreement and is pleading guilty freely and voluntarily because
                   he is guilty;

           B.      Is entering into this Plea Agreement without reliance upon any promise or benefit of any
                   kind except as set forth in this Plea Agreement or revealed to the Court;

           C.      Is entering into this Plea Agreement without threats, force, intimidation, or coercion;

           D.      Understands the nature of the offense to which he is pleading guilty,
                   including the penalties provided by law; and

           E.      Is completely satisfied with the representation and advice received from
                   his undersigned attorney.

                                                   - 8 -
  Case 1:24-cr-00121-SM-AJ              Document 13         Filed 05/05/25       Page 9 of 13




       10.   Scope of Agreement.


       The defendant acknowledges and understands that this Pica Agreement binds only the

undersigned parties and cannot bind any other non-party federal, state or local authority. The

defendant also acknowledges that no representations have been made to him abo ut any civil or

administrative consequences that may result from his guilty pica. The defendant further

acknowledges that this Pica Agreement has been reached without regard to any civil tax matters

that may be pending or which may arise involving the defendant.

       11.   Collateral Consequences.


       The defendant understands that as a consequence of his guilty plea he will be adjudicated

guilty and may thereby be deprived of certain federal benefits and certain rights, such as the right

to vote, to hold public office, to serve on a jury, or to possess firearms.

       The defendant understands that, if he is not a citizen of the United States, his guilty plea

to the charged offense will likely result in him being subject to immigration proceedings and

removed from the United States by making him deportable, excludable, or inadmissible. The

defendant also understands that if he is a naturalized citizen, his guilty plea may result in ending

his naturalization, which would likely subject him to immigration proceedings and possible

removal from the United States. The defendant understands that the immigration consequences

of this plea will be imposed in a separate proceeding before the immigration authorities. The

defendant wants and agrees to plead guilty to the charged offense regardless of any immigration

consequences of this plea, even if this plea will cause his removal from the United States. The

defendant understands that he is bound by his guilty plea regardless of any immigration

consequences of the plea. Accordingly, the defendant waives any and all challenges to his guilty

                                               - 9 -
  Case 1:24-cr-00121-SM-AJ               Document 13         Filed 05/05/25       Page 10 of 13




pica and to his sentence based on any immigration consequences and agrees not to seek to

withdraw his guilty plea, or to file a direct appeal or any kind of collateral attack challenging his

guilty plea, conviction, or sentence, based on any immigration consequences of his guilty plea.
         12.    Satisfaction of Federal Criminal Liability: Breach.

         The defendant’s guilty plea, if accepted by the Court, will satisfy his federal criminal

liability in the District of New Hampshire arising from his participation in the conduct that forms

the basis of the indictment in this ease.

         The defendant understands and agrees that, if after entering this Agreement, he fails

specifically to perform or fulfill completely each one of his obligations under this Agreement,

fails to appear for sentencing, or engages in any criminal activity prior to sentencing, he will

have breached this Agreement.

         If the United States, in its sole discretion, and acting in good faith, determines that the

defendant committed or attempted to commit any further crimes, failed to appear for sentencing,

or   has otherwise violated any provision of this Agreement, the United States will be released

from its obligations under this Agreement, including, but not limited to, any agreement it made

to dismiss charges, forbear prosecution of other crimes, or recommend a specific sentence or a

sentence within a specified range. The defendant also understands that he may not use his breach

of this Agreement as a reason to withdraw his guilty plea or as a basis to be released from his

guilty plea.

          13.   Waivers.


         A.     Appeal.

         The defendant understands that he has the right to challenge his guilty plea and/or


                                                - 10 -
  Case 1:24-cr-00121-SM-AJ             Document 13         Filed 05/05/25       Page 11 of 13




sentence on direct appeal. By entering into this Plea Agreement the defendant knowingly and

voluntarily waives his right to challenge on direct appeal:
       1.      His guilty plea and any other aspect of his conviction, including, but not
               limited to, adverse rulings on pretrial suppression motion(s) or any other
               adverse disposition of pretrial motions or issues; or claims challenging the
               constitutionality of the statute of conviction; and

       2.      The sentence imposed by the Court if it is consistent with or lower than
               the stipulated sentence or the stipulated sentencing range specified in
               Section 6 of this agreement.

       The defendant’s waiver of his irghts does not operate to waive an appeal based upon new

legal principles enunciated in Supreme Court or First Circuit ease law after the date of this Plea

Agreement that have retroactive effect; or on the ground of ineffective assistance of counsel.
       B.    Collateral Review


       The defendant understands that he may have the irght to challenge his guilty plea and/or

sentence on collateral review, e.g., a motion pursuant to 28 U.S.C. §§ 2241 or 2255. By

entering into this Plea Agreement, the defendant knowingly and voluntarily waives his right to

collaterally challenge;

        1.      His guilty plea, except as provided below, and any other aspect of his
                conviction, including, but not limited to, adverse rulings on pretrial
                suppression motion(s) or any other adverse disposition of pretrial motions
                or issues, or claims challenging the constitutionality of the statute of
                conviction; and

        2.      The sentence imposed by the Court if it is consistent with or lower than
                the stipulated sentence or the stipulated sentencing range specified in
                Section 6 of this agreement.

        The defendant’s waiver of his right to collateral review docs not operate to waive a

collateral challenge to his guilty plea on the ground that it was involuntary or unknowing, or on

the ground of ineffective assistance of counsel. The defendant’s waiver of his irght to collateral

                                               - 11 -
  Case 1:24-cr-00121-SM-AJ             Document 13         Filed 05/05/25       Page 12 of 13




review also docs not operate to waive a collateral challenge based on new legal principles

enunciated by in Supreme Court or First Circuit case law decided after the date of this Plea

Agreement that have retroactive effect.

       C. Freedom of Information and Privacy Acts

       The defendant hereby waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution of the casc(s) underlying this Plea

Agreement, including without limitation any records that may be sought under the Freedom of

Infoimation Act, 5 U.S.C. §552, or the Privacy Act of 1974, 5 U.S.C. §522a.

       D. Appeal by the Government

       Nothing in this Plea Agreement shall operate to waive the rights or obligations of the

Government pursuant 18 U.S.C. § 3742(b) to pursue an appeal as authorized by law.

       14.    No Other Promises.


       The defendant acknowledges that no other promises, agreements, or conditions have been

entered into other than those set forth in this Plea Agreement or revealed to the Court, and none

will be entered into unless setforth in writing, signed by all parties, and submitted to the Court.

       15.    Final Binding Agreement.


       None of the terms of tliis Plea Agreement shall be binding on the United States until this

Plea Agreement is signed by the defendant and the defendant’s attorney and until it is signed by

the United States Attorney for the District of New Hampshire, or an Assistant United States

Attorney.

        16.    Agreement Provisions Not Severable.



                                              - 12 -
  Case 1:24-cr-00121-SM-AJ            Document 13         Filed 05/05/25       Page 13 of 13




        The United States and the defendant understand and agree that if any provision of this

Plea Agreement is deemed invalid or unenforceable, then the entire Plea Agreement is null and

void and no part of it may be enforced.


                                                      JOHN J. MCCORMACK
                                                      Acting United StatM Attorney



Date:                                           By:
                                                      Matth w T. Hunter
                                                      Assistant United States Attorney
                                                      53 Pleasant St., 4th Floor
                                                      Concord, NH 03301
                                                      Matthew.Hunter@usdoj.gov

       The defendant, GiCliffRodriguez, a/k/a “SEGA,” certifies that he has read this 13-page
Plea Agreement and that he fully understands and accepts its terms.


Date:
                                                      Gifelif^I^odn^cz a/k/a “SEGA,” Defendant
        I have read and explained this 13-page Plea Agreement to the defendant, and he has
advised me that he understands and accepts its terms.


Date:

                                                      Bcnjhtr^    Palmer, Esquire
                                                      AttomeyTor GiCliff Rodriguez
                                                                           a/k/a “SEGA




                                             - 13 -
